23- OU Ue t! 208

VERDICT FORM

Note: Complete the following paragraph by filling in the blanks as required by your
verdict. If you assess a percentage of fault to any of those listed below, write in a percentage not
greater than 100%, otherwise write in “zero” next to that name. If you assess a percentage of

fault to any of those listed below, the total of such percentages must be 100%,

On the claim of plaintiff for wrongful death, we, the undersigned jurors, assess percentages

of fault as follows:

Defendant: George W. Holcomb, III, M.D. | | ) % (zero to 100%)

Children’s Mercy Hospital (zero to 100%)

TOTAL | X ) % (zero OR 100%)

Complete the following if you assessed a percentage of fault to defendant. Complete by
writing in the amount of damages, if any, for each of the following itemized categories. If you do
not find that plaintiff has damages in a particular category, write “none” in that category. The total

damages must equal the total of the itemized damage amounts you have assessed.

ECF

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We, the undersigned jurors, disregarding any fault on the part of decedent or plaintiff, find
the total damages of plaintiff, as defined in Instructions [ 7 and / gs as follows:

For past economic damages: $ (DO ) OOD

For past non-economic damages: $ AD , COD

For future non-economic damages: $ 5 OO, OCOD
TOTAL DAMAGES s_ 1100,c00

Note: All jurors who agree to the above must sign below:

Md er Croce

 

 

Athhhe 0 fh.

DATE: q.ad mia

 

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